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                           EXHIBIT F-4

             Invoices from Becky McGee
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                DETAIL OF LEGAL SERVICES PROVIDED BY
                            BECKY MCGEE

                           September to October 2023


        Timekeeper Hourly Billing Rate Total Hours Billed Total Fees
        Becky McGee     $320.00              23.70         $7,584.00



                           TOTAL:                23.70        $7,584.00
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              [Invoices Filed Under Seal -
              Redacted in Full]
